FILED: NEW YORK COUNTY CLERK 07/02/2020 09:16 AM                             INDEX NO. 160694/2019
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NYSCEF DOC. NO. 96                                                       1 of 24NYSCEF: 07/01/2020
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                                                                                                                                                                      July         10,       2020




    VIA        NYSCEF


    The       Honorable                      Verna          L.    Saunders
    Supreme                Court             of the         State        of New             York,         New         York            County
    111       Centre             Street,         Room              934
    New            York,         New          York           10013


                      Re:                  Carroll           v. Trump,                Index         No.        160694/2019                     (Sup.          Ct.,       N.Y.          Cty.)


    Dear           Justice          Saunders:


                         We      write         on behalf                 of Plaintiff              E. Jean           Carroll           to provide                notice           of     supplemcñtal                      authority
                                                                                                                     presidatial                    ---
    confirmir.g                  that        Defcñdant                   Donald         J. Trump's                                                                   y     claim            in this            action,       the     sole
    basis          for     his      motion            for        a stay,        see     Doc.            No.    49,        lacks        any      merit          whatsoever.                       As Your               Honor         may
                                                                                                                                                                                                 Appeals'
    recall,          Trump              has     moved               to    stay     this       action          pending              the      New           York           Court         of                              decision            in
    Zervos               v. Trump.             In that            motion,          Trump                asserted           that       the     Supremacy                    Clause              provides             presidential

    im=mity                   for     personal               conduct             actions            pending           in state           court,          even         though              the          Supreme            Court         has
                                                                                      4---                            identical
    already              held       that       there         is no        such                            y   for                            actions           in     federal             court.          See      Doc.        No.       49
    at      6-7;         Doc.         No.        70     at        16-17.          In        other         words,         Trump               argued            that        state          and           federal          courts         are
                                 different             for       purposes              of                            presidential                 i-.--lty.                 However,                     the      United          States
    completely                                                                               assessing
    Supreme                Court             resoundingly                   rejected              the     central          premises              of that         argument                   yesterday               by     a vote        of
    7-2       in     Trump              v.    Vance          (2020)             (attached               as Exhibit                A    and       cited         as "Slip            op.").               It follows           directly
    from           Vance            that      Trump's               assertions               of         --hy                in this          case,        as well            as his              purported               arguments
    for      a stay,          are       completely                  baseless.


                         Vance             involved               a New             York            grand           jury          subpoena                issued                       the         Manhattan                 District
                                                                                                                                                                            by
    Attorney            seeking                 "fiñañcial                records            relating          to the          President               and       business               organizations                      affiliated
                   [Trump]."
    with                                     Slip      op.        2. Although                     there       was         a nearly             200-year               history             of       the     President               being
    subject              to federal             judicial             process,               the     Supreme       Court    noted  that                               the     subpoena                    at issue          was       "the
                                                                                                       President."
    first     state          criminal               subpoena               directed               to a                  Id. at 1.


                         Trump's              arguments                  here     and        in     Vance           are    exactly            the      same-and                    fail          for     the     same       reascus.
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                                                                                                                                                                          difference"
                     Here,            Trump                has        argued                 that             there             is        a     "critical                                                 in      terms                 of     presidential

     imn-unity               between                 proceedings                       in      state               and      federal                 court.              Doc.          No.           70      at        16.       In       Vance,     Trump
                                                                                                                                                                                                                                        difference"
     argued          that       the       "distinction                    [between                      state           and          federal                proceedings]                      makes               all        the                         for
     purposes             of     such         immunity.                       Slip      op.        at        10.


                     Here,            Trump                has       asserted                  that            the         Supremacy                              Clause              affords              him              absolute                    immunity
     because           "subjecting                    the        President                  to a state                  trial         court's                jurisdiction                    imposes                  upon           him           a degree                  of
     control         by      the       State         of New              York           that         interferes                       with          his       ability            to carry                out      his        constitutional                             duty
                                                                                                   States."
     of     executing              the       laws           of     the        United                                       Doc.               No.       49        at 7 (internal                         quotation                   marks               omitted).
     In     Vance,          Trump               asserted            that         "the         Supremacy                              Clause             gives             a sitting            President                     absolute                   im=mity
     from        state         criminal               subpoenas                       because                      compliance                        with            those             subpoenas                           would             categorically
                                                                                                                                              functions."
     impair          a President's                    performance                           of his             Article               II                                     Slip        op.         at    10.


                     And           here,            Trump                has          contended                          that             the       mere             pendency                       of         this         case             serves                as        an
                                                                                                                                                                     duties."
     "unnecessary                     distraction                  of      the        President                      from             his        public                                      Doc.          No.             49      at        12.        In     Vance,

     Trump            contended                     that         a state     court                       subpoena                         unrelated                  to         his     official                 functions                    as        President
                                                                 "diversion"
     remained               an intolerable                                                         from             his     official                duties.               Slip        op.      at 12.


                     Indeed,              the       parallels              between                      Vance              and            the     presidential                        im=mity                    issue             here        are            so great
     that      Trump            himself              sought              to use             the        Supreme                       Court's                grant          of     a writ            of     certiorari                   in     Vance               to his
     advantage                 in the         New           York              state         courts.                Specifically,                        in     opposing                  Zervos's                     request                for        expedited
     proceedings                   at the           New          York            Court             of        Appeals,                     Trump                argued             that        the         case             should            proceed                    on      a
     lengthier              schedule                because               doing              so        "may               well            provide                 [the]          Court         with             the         benefit                of        the        U.S.
     Supreme                Court's             decision                 in      Trump                  v.     Vance                 . . . in               which          the President                           is       challenging                        a state
                                                                                                                                                                          grounds."
     prosecutor's                  subpoena                  on,        among                others,               Supremacy                           Clause                          Doc.                            No.         62        at 3.


                     The           Supreme                  Court               has          now              spoken,                     and          it     has          rejected                 the          supposed                     state-federal
     distinction               that       Trump              has        pressed               in        Vance,              Zervos,                    and        this      case.            Slip         op.         at    12-14.             In        the        same

     breath,         the       Supreme                 Court             has          also         rejected                 the           policy              arguments                     Trump                has         advanced                        here         for

     treating          him         as        i-mune                from              suit         in        state         court.                While             denying                Trump's                      claim             of     presidential

     imma-±y                 from            state         legal         process,                  the         Supreme                        Court            in        Vance           applied                 the         very            separation                      of
     powers           precedents                     that        we        cite         in        our          opposition,                        Doc.              No.          54     at     17-20                  (and           that          Trump                 has
     deemed            irrelevant),                    to        explain               that            the          Supremacy                           Clause       does                    not          confer                immunity                       on        the
                                                                                                                                                             "distraction."
     President              simply              because                 civil         litigation                    might                 prove           a                                              Id.      at         12.        Instead,                   as    the
     Supreme                Court            explained                   yesterday,                      absolute                     immunity                      for         a President                      is        limited             to        litigation

     relating          to      official           conduct                because                   only            official                conduct                  actions            stand      to             distort             the       Executive's
                                                process."                                                                                                                               "official"
     "decisionmaking                                                     Id.         Here,             of      course,                there            was          nothing                                             about            Trump's                    false
     statements                defaming                E.        Jean           Carroll                after         she         spoke              out        about             a sexual                assault                Trump               committed
     in the      mid-1990s.


                     Accordingly,                      the        meritless                  arguments                      that                                  has      used          to delay                this        action                should               now
                                                                                                                                              Trump
     be put        to rest,           and       Trump's                 motion               for        a stay            should                be denied.                  Although                     Zervos              nominally                       remains

                       before             the        Court          of        Appeals,                   the        Supremc                      Court's                 decision              in        Vance               leaves            no            question
     pending
     that      the     Court            of      Appeal              must              affmn                  the     decision                     of        the      Appellate                  Division,                       First         Department,
                       to                    that      case                             Trump's                                                             since                            is not           immune                     from                personal
     refusing                   stay                                during                                           Presidency                                           Trump
                                                                                                                                                                                                            "just"
     conduct           actions              in New               York           state         court.               As      a result,                there            is certainly                   no                          basis          for           a stay          of
     this     action           pursuant              to CPLR                    § 2201.
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                    The      Supreme          Court      reminded           us        yesterday           that    "[i]n       our     system             of        government,          as this
                                                                                                                                                                                 President."
     Court      has       often     stated,    no     one       is above        the     law.      That      principle         applies,             of    course,         to a

     Slip     op.     (Kavanaugh,             J.,    concurring)           at    1. Trump            has     no    special          right      to       defame          those        who     have
     accused         him      of    sexual     misconduct            and        then     avoid       the     consequences                   of his       actions.         Carroll          should
     be     permitted          to   resume          discovery        so that           she     can       obtain     justice         for      the        acfa==6on               of   her     good
     name       and       character.



                                                                                                                                       Respectfully                    submitted,




                                                                                                                                       Roberta                A.     Kaplan


     cc:            Counsel         of Record          (via     NYSCEF)
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                                                                                                              1633         BROADWAY                                                                                                       ATLANTA
                                                                                                                                                                                                                                        HOUSTON
                                                                                             NEW YORK,                     NEW YORK                  10019
      MARC E. KASOWITZ                                                                                                                                                                                                             LOS ANGELES
DI RECT DIAL: (2 I 2) 506- I 7 IO                                                                             (2 I 2) 506-                I 700                                                                                        MIAMI
DI RECT FAx: (212) 835-501O
   MKASOWITZ@KASOWITZ.COM                                                                              FAX:        (2 I 2) 506-                  I 800                                                                                    NEWARK
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                                                                                                                                                                                                                                 SILICON VALLEY
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                                                                                                                                                             July        14,      2020




           VIA       NYSCEF


           The       Honorable                 Verna        L.      Saunders
           Supreme            Court            of the       State         of New                York

           New        York            County
           111       Centre           Street,        Room           934
           New        York,           New          York         10013


                           Re:                Carroll           v. Trump,                  Index            No.       160694/2019                        (Sup.         Ct.,      N.Y.           Cty).


           Dear       Justice           Saunders:


                           We         write        on behalf              of        defendant                President                Donald              J. Trump               to respond                to plaintiff's                 July
           10,    2020        letter          to the       Court          ("Pl.            Letter"),              in which                she     asserts            that      the       U.S.       Supreme                  Court's
           decision           last      week         in    Trump               v.    Vance,            No.         19-635,                2020       WL          3848062                 (U.S.          July         9, 2020),          means
           that      the    President's                 motion            to        stay     this       case          pending              the     now         fully          briefed             appeal            to the      Court       of

           Appeals            from        Zervos           v. Trump,                   171      A.D.3d                   110       (1st     Dep't           2019),            should            be denied.


                           Plaintiff's              assertion             is incorrect.                       Vance            does         not     hold         that         a civil       action             in    state      court
           against         a sitting            President             like          Zervos            and         this       action         may          proceed.                The        Supreme                  Court       itself
           made        this      clear         on the       same                       it handed                  down             Vance.            In                         v. Mazars                                         No.       19-
                                                                             day                                                                             Trump                                        USA,          LLP,
           715,      2020         WL          3848061             (U.S.             July      9, 2020),                  which            concerned                the        ability        of     Congress                 to issue       a
           subpoena              to the         President,               the        Supreme                 Court            explicitly             noted            that      the       holding           in        Vance       was
           limited         to criminal               proceedings:


                                              Two         hundred               years          ago,           it was           established                  that       Presidents                  may         be
                                              subpoenaed                  during             a federal                criminal              proceeding,                     and         earlier         today
                                              we                extended                             that                 ruling                     to                state                    criminal

                                              proceedings,                     Trump            v.     Vance,             ante,       p. __.


           Id.    at *4       (emphasis                 added)            (citation             omitted).                    The          Supreme              Court            also       confirmed                    in Mazars           that
           its    Clinton             v. Jones,            520           U.S.         681        (1997),                 ruling           was       limited              to      civil       actions                against       a sitting
           President             in    federal,           not     state,            court:


                                              [M]ore            recently               we        ruled             that        a private                  litigant            could          subject                a
                                              President            to a damages                        suit       and        appropriate                  discovery               obligations                   in
                                          federal               court,          Clinton              v. Jones,               520          U.S.      681       (1997).
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Mazars,                2020        WL        3848061,               at *4             (emphasis                   added).


                  In    fact,        as outlined               below,                and       contrary               to plaintiff's                    arguments,                  Vance            confirms               the
reasons            Clinton             v. Jones,             which             upheld                federal          court         jurisdiction                  over         civil           actions         against            a

sitting          President,              should             not     be extended                        to    state         court.            In    any         event,         the       Court             of Appeals               itself
will      soon          decide          this      issue           on the             pending               Zervos            appeal.               Staying          this        action             would           not     only
allow        the        Court    of Appeals       to decide                                   this     threshold                  constitutional                   issue,           but         would          extend            the
                                           restraint"
"judicial              deference     and                  the                                 courts          owe          the     President               under            the      United               States
Constitution.                      Nixon          v. Fitzgerald,                      457           U.S.       731,         753         (1982).            (See         also        NYSCEF                   Doc.         No.         49       at
9 (collecting                   cases).)


                  A.       The         Reasoning                   in     Vance               and          Mazars                Supports                the     Conclusion                        That
                           State         Courts             Lack           Jurisdiction                        Over              the     President                in        Civil        Actions.


                   While             Vance          neither             addressed                    nor     decided              whether                state     courts              may         exercise
jurisdiction                  over       the     President                in civil             actions,              its    reasoning                   supports             the       conclusion                  that     the        First
Department's                       decision            in Zervos                 that         they          may       do         so was           erroneous.


                  First,        in     Clinton           v. Jones,               the         Supreme               Court               decided           that     the        federal              district         court         there
could        exercise                jurisdiction                 over         President                   Clinton           in     a sexual             harassment                     case        arising          from          his
alleged           unofficial               conduct             precisely                 because,                 under           the     Separation                   of     Powers               doctrine,              federal
                                                                                --                                   -- over                                                                       conduct.1
courts          may          exercise            jurisdiction                         i.e.,      control                                the       President's                 official

However,                 state        courts,          under            the      Supremacy                     Clause,                 may        not     exercise              any           jurisdiction                or control
over        the     President's                  official           conduct.                   Vance           reaffirms                 this       principle.                See         Vance,             2020         WL
3848062,                at *8         (because              "'States             have           no         power           ...    to retard,           impede,                 burden,               or in      any        manner
                                                                                                                                                     Congress[,]'
control           the      operations                  of the       constitutional                          laws           enacted            by                                       [i]t      follows           that         States
                                                                                                                                                                  laws."
also      lack         the      power           to impede                the         President's                   execution                  of those                              (quoting               McCulloch                      v.

Maryland,                  4 Wheat.               316,        436        (1819))).                   Accordingly,                       the       Supreme               Court's                justification               in

Clinton            v. Jones             has      no      application                    to     state         court         jurisdiction.



          Second,    Mazars     also reaffirms      that the principal    basis for the First   Department's                                                                                                                decision
in Zervos    -- that Clinton     v. Jones                        demonstrates     that the presidency       and                                                                                                           the
                                             "unequivocally
                            separable,"
President    are indeed                     171 A.D.3d      at 124 -- was erroneous:


                                     The        interbranch                   conflict              here       does         not        vanish           simply          . . . because                 the
                                     President              sued         in      his         personal              capacity.                  The        President                  is the          only
                                     person            who        alone              composes                  a branch                  of government.                           As          a result,
                                     there        is    not       always                a clear            line   between     his                        personal               and            official
                                                                                                               man"
                                     affairs.          "The             interest               of      the             is often                          "connected                      with         the


1
                  See Brief            for Defendant-Appellant                             in Zervos           v. Trump,                APL-2020-00009,                       attached            hereto       as Exhibit             1
("Zervos          App.        Br."),       at 13-18
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                                                                                                                     place."
                                       constitutional                           rights            of      the                                Given           the           close         connection
                                       between                 the        Office            of    the        President                 and      its    occupant,                   congressional
                                       demands                     for      the      President's                     papers             can       implicate                  the        relationship
                                       between                  the         branches                   regardless                    [sic]       whether                   those          papers           are
                                       personal                or official.



Mazars,               2020            WL          3848061,                  at *11            (emphasis                   added)              (citation             omitted).               In     other         words,          Mazars
confirms     that,                    because                "[t]he          President                   is the          only        person           who           alone          composes                a branch              of
government,"
                                      state         courts           may          not        exercise     direct                   control             over         the      President,                "simply           . . . because
                                                                                                 capacity."
the     President                    [is]      sued          in his         personal                                             Id.



                    Finally,                plaintiff              again          attempts               to reduce               the         President's                 Supremacy                  Clause           argument                    in
                                                                                                                                                                    "distraction"
Zervos              to a claim                  that        this         action           constitutes                an impermissible                                                              of the         President,                an
argument                   Vance              rejected               in the         criminal                 context.             (Pl.        Letter          at 2.)           However,                 distraction               is not
the     basis            for     the         President's                   argument                    in Zervos.                Rather,              as noted               (NYSCEF                   Doc.       No.         78),         the
dispositive                    constitutional                        issue         in Zervos                 turns         not         on the         distraction                  to the        President,             but       on        state
courts'
                  inability,                  under            the        Supremacy                    Clause,             to control                 the     President                  in a civil           action          in the         first
place          -- an issue                   that       was          neither              addressed                 nor        decided                      Vance.             The        President              argued
                                                                                                                                                 by
distraction                    only          as an additional                        reason              why         the        balance           of the             equities            favors         staying           this        action

pending               the       appeal              in Zervos.                    (See       NYSCEF                      No.       49        at 12.)



                    B.         The          Supreme                   Court's                Holding                in       Vance            Was           Limited                to    the     Criminal                Context.


                    The         Supreme                  Court's             holding                in       Vance,            as noted,              was          limited          to the         criminal            context,              and
its    reasoning                  does           not        extend           to civil             actions.



                    First,        the         Supreme                 Court           has        repeatedly                    recognized                   that      the      heightened                public           interest               in
criminal                 actions             justifies             intrusions                 on the            Executive                    Branch           that         would          be     impermissible                        in
other          contexts.                    See Nixon                    v. Fitzgerald,                      457      U.S.         at 754          n.37            ("The        Court            has     recognized                   before
there          is a lesser                  public           interest             in actions                 for     civil        damages               than           . . . in         criminal           prosecutions.").
In     fact,        the        Supreme                  Court             applied            that        principle               in Mazars,                  in which               it held         that      while        criminal
                                                                                                                                                                                                                         system'
subpoenas                    may            issue        against             the      President                    because             "'the       very            integrity             of the        judicial
                                                                                                                                                 facts,'"
would              be undermined                            without               'full       disclosure                  of     all     the                          Congress's                   "interests            are      not

sufficiently                    powerful                 to justify                access            to the President's                          personal                  papers          when          other         sources
                                                                                                           needs."
could          provide                Congress                  the        information                  it            2020                         WL          3848061,                  at *12         (quoting              United
States             v. Nixon,                418         U.S.         683,         709        (1974)).               Here,            as in Zervos,                    the      interest            in pursuing                a civil
action             now,         as opposed                     to when               the         President                is no        longer           in office,              is plainly              much           less
powerful                 than         the       Congressional                             interest           the     Court             held      was          insufficient.                    Unlike          criminal

proceedings,                      there           is no         pressing                  need         for     a state           court         to exercise                   control           over        a sitting          President
in a civil               action,             particularly                   because               the        action            can      be     stayed              until      the       President             is no       longer             in

office.
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                 Second,            in     Vance,          the     cornerstone               of the        Supreme             Court's           decision              was        that,         if state
crimir.al          proceedings                   threatened             the     independence                   or effectiveness                     of    the        Executive,                 the
                                                                                                                       courts,"
President             would          "be        entitled          to the      protection             of     federal                           by      availing           himself                of 42         U.S.C.
                                                                                                                                                                       actions.2
§ 1983.            Id.       However,               that     avenue           is not       available           to the         President             in civil                                    Compare
Peters          v. Noonan,                No.       12-CV-234-FPG,                        2020       WL         1322573,              at *1        (W.D.N.Y.                     Mar.      20,          2020)
("The           Second            Circuit      has         read      [section          1983]        to preclude               both       injn.netive                 and     declaratory                  relief
                                       officer."
against          a judicial                                 (citation         omitted))             with      Bolin          v. Story,         225       F.3d          1234,            1242          (11th        Cir.

2000)           (prosecutors                 do not         enjoy       absolute           -mm;-dty                from       declaratory                and         injunctive                relief      claims
under           § 1983).            Therefore,               because          the     President             does       not     have         recourse             in    federal            courts          from
undue           influence            in    civil      actions,          state       courts         may       not      exercise         jurisdiction                   over        a sitting             President
in civil         actions.


                 Plaintiff           cites       to Justice    Kav==gh's                            concurrence                in     Vance,          which            stated           that      the
                                                         law."
President             is not        "above          the           (Pl. Letter                      at 3.)       She       omits        that      Justice             Kavanaugh                   went         on to
say:     "[a]t        the         same     time,          in light      of Article            II    of the      Constitution,                  this      Court             has     repeatedly
declared            -- and          the    Court           indicates          again                       -- that a court                          not    proceed                against           a
                                                                                           today                                      may
                                                                                            litigant."
President             as it would                against          an ordinary                                      Vance,        2020         WL         3848062,                at *13

(Kavanaugh,                    J., concurring).                    In any event,               as the        Supreme                Court      noted            in    Clinton             v. Jones,             "a
                                                                  proceedings"
postponement                       of the       judicial                                                      the                              does        not        place        "the          occupant             of
                                                                                               during                 Presidency
                                                                                             law.'"
the     Office           of the       President              . . . 'above           the                      Clinton          v. Jones,            520     U.S.            at 697.             (See

generally             Zervos             App.       Br.     at 28-29.)




                                                                                                                                    Respectfully                     submitted,



                                                                                                                                 ht....                          E
                                                                                                                                    Marc        E. Kasowitz




 cc:             Counsel             of Record




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                 See 42 U.S.C.               § 1983 ("[I]n    any action                  brought         against     a judicial       officer        for an act or omission                        taken       in
such officer's            judicial        capacity,   injunctive   relief                 shall not be granted                unless        a declaratory             decree       was violated                 or
declaratory           relief       was unavailable.")
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KAPLAN                 HECKER                                       &           FINK                     LLP
                                                                                                                                            NEW                        NEW          YORK             10118
                                                                                                                                                        YORK,

                                                                                                                                            TEL       (212)         763-0883                I FAX             (212)      564-0883

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    VIA        NYSCEF


    The      Honomhle                    Verna         L.      Saunders
    Supreme            Court              of the       State         of New                York,         New       York              County
    111      Centre          Street,            Room           934
    New        York,         New            York        10013


                    Re:                  Carroll          v. Trump,                Index           No.     160694/2019                        (Sup.          Ct.,     N.Y.           Cty.)


    Dear       Justice           Saunders:


                    We       write          on behalf               of Plaintiff                E. Jean          Carroll             in response                to Defendant                         Donald            J. Trump's
    letter     of     yesterday's                   date.       In       that      letter,         President             Trump              asserts           that      his        recent,             historic          defeats            at
    the      Supreme                Court           somehow                  advance               his     position                here.        This          argument                is        as      desperate              as    it     is

    unconvincing-particularly                                         when           these         rulings         are        set in the               broader          context,                 as disenssed                  below.


                    Presidents                  have         long        argued            that     they        are      2--es                 from          accountability                       in     state         and     federal

    court,      but       these           arguments                 have          failed          time     and         again,          except           in the         special             case          of    civil         damages
    suits      seeking              to     impose            liability            on       Presidents             for        their      official              conduct.              See         Nixon           v. Fitzgerald,
    457       U.S.        731,           751        (1982).              They          failed         when         President                  Nixon            asserted              immunity                     from         federal
    criminal           subpoenas.                   See       United            States          v. Nixon,              418      U.     S. 683            (1974).             They          failed             when       President
    Clinton           asserted              immunity                 from          civil        claims           filed        in      federal           court         arising              from          private             conduct.

    See      Clinton            v. Jones,             520      U.        S. 681           (1997).                        failed         when            President                                     asserted           4
                                                                                                           They                                                                Trump                                                      4ty
    from       state       criminal                 subpoenas.                    See       Trump          v.     Vance,              No.        19-635              (U.S.          July          9, 2020).              And        they
    failed          when            President                 Trump                asserted               effective                  immmi+y                   from            Congressional                           subpoenas

    concerning               his         private        conduct.                See        Trump          v. Mazars                  USA         LLP,         No.       19-715                  (U.S.         July      9, 2020).


                     There          is a clear            message                 here.      Presidents                lose        when          they         argue          that     they            are      above         the     law.

    They       lose       when             they      argue           that       state        courts        are     categorically                       inferior         than         fcdcral                courts         and      can't
    be trusted            to decide                 sensitive             questions.                They        lose         when           they        argue         that         they         are     too       important,               or
    too      busy,         to       answer             for      private             misconduct                    or     to        provide              information                   in         connection                  with         an
    investigation                   into           whether               crimes             were         committed.                    And             they          lose          when              they         invent           novel
    theories-never                         embraced                         the     Supreme               Court-to                   assert           that     the     Constitution                      forbids
                                                                    by                                                                                                                                                       ordinary
    Americans                like         Ms.       Carroll          from          seeking            justice.
                       Case 1:20-cv-07311-LAK Document 6-6 Filed 09/09/20 Page 10 of 24


KAPLAN           HECKER                         &       FINK             LLP                                                                                                                                                      2


                      In    their       July        14 letter,             Messrs.           Trump                and     Kasowitz                  ignore       all      of    that.         Instead,             they     try       to

     unnecessarily                   complicate                  things          and      kick         up      a cloud           of     dust        by      pointing            to    irrelevant              or     incorrect
     distinctions                 between              Vance,         Mazars,              and         this       case.        Their           arguments               not       only          lack        merit,         but     are

     clearly          intended            to distract              the      Court         from          the       key      principles               at issue.


                       Vance          rejected            President               Trump's               sweeping               assertion              that      state          and         federal         courts          should
     be    treated           differently                when        it comes               to     issaiñg            criminal               subpoenas             to      the        President.               In     so doing,

     Vance            rejected          virtually            every          argament               that        President               Trump             has     asserted              here          for    treating            state
     courts           as incapable                of     hearing            civil      claims-like                       Ms.      Carroll's              claim             that        could            unquestionably
     be heard              in federal           court       under          Clinton              v. Jones.            See Doc.               No.      98 at 10-14.                In Mazars,                  the     Supreme
     Court        recognized                that        some         suits          involving               the    President's                 private          affairs          might            also      implicate             his
     official          duties.        But        it squarely             rejected            the       President's               blunderbuss                   argument                that       his      private         papers
     should           therefore             be      treated         the         same       as his             official         papers,              exp'=4=4=g               that          "[s]uch          a categorical
     approach                would    represent     a significant departure    from   the longstanding        way    of doing     business
                                branches."
     between               the                  Ex. A at 14 (Trump     v. Mazars    opinion).    Like  Nixon,     Clinton,    and   Vance,
    Mazars             thus         confirms             that      suits         involving              the       President's                 private          conduct               are     different             than     those

     involving              his      official          conduct-and                      thereby              precludes                the     President's               absolutist                position.


                      President             Trump           wants           to make              the      arguments               here            appear        to be complicated.                           They          aren't.
     The        distinctions              he has           drawn            to      escape         accountability                       are       irrelevant.             That         has        always            been        true,
     and        the        Supreme              Court            confirmed                the      point           again         in         Vance        and      Mazars                   last      week.           President

     Trump's               extreme          position              failed         there,         and       it should            fail         here,     too.


                      As      a result,          there          is no      reason          to      stay       this       case.        Ms.         Carroll        should              be permitted                   to resume

     discovery               and      obtain           justice       for        President              Trump's              Mamation                     of her        good           name           and      character.



                                                                                                                                                                 Respectfully                      submitted,




                                                                                                                                                                 Roberta               A.      Kaplan


     cc:              Joshua           Matz,           Counsel             of    Record            (via        NYSCEF)
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                                                        K A          S    O     WI     T Z          B       E    N   S     O N          T O R R                   E S          LLP

                                                                                                      1633         BROADWAY                                                                                             ATLANTA
                                                                                                                                                                                                                      HOUSTON
                                                                                          NEW YORK,                NEW YORK               10019
      MARC E. KASOWITZ                                                                                                                                                                                               LOS ANGELES
DI RECT DIAL: (2 I 2) 506- I 7 IO                                                                       (2 I 2) 506-           I 700                                                                                     MIAMI
DI RECT FAx: (212) 835-501O
   MKASOWITZ@KASOWITZ.COM                                                                          FAX:       (2 I 2) 506-          I 800                                                                               NEWARK
                                                                                                                                                                                                                SAN FRANCISCO
                                                                                                                                                                                                                SILICON VALLEY
                                                                                                                                                                                                               WASHINGTON           DC




                                                                                                                                                   July      16,       2020




           VIA      NYSCEF


           The      Honorable                    Verna          L.    Saunders
           Supreme             Court             of the        State           of New        York

           New       York          County
           111      Centre          Street,            Room           934
           New       York,          New            York          10013


                           Re:                  Carroll          v. Trump,             Index        No.         160694/2019                   (Sup.        Ct.,        N.Y.      Cty).


           Dear       Justice         Saunders:


                           I write              on behalf            of    defendant            President               Donald          J. Trump              to correct            certain          assertions           in

           plaintiff's             July         15,     2020         letter      ("PL")        to the           Court.



                          First,    plaintiff                  asserts   that          the     President's               argument              is based            on         a contention            that      state
                               "inferior"                        "incapable"                                                                                                                                          -- that
           courts        are                                 or                              (PL     at 1, 2).           That       is not         so.       The        President's             argument
           under         Article           II    and      the Supremacy          Clause,      a President         is temporarily            immune       while     in office
           from                     sued          in   state   court   --   is based     on    the   federal      structure      of   the Constitution,            which
                      being                                                                                                                                                  every
                                                                                        bound.1
           state     ratified         and          by   which     every      state  is                  Ironically,       it is  plaintiff,      not   the   President,       who
                                                                                        "distract[ed]"
           seems         to believe                that the Court         could    be                            by   legal    arguments.          (PL    at   2.)

                                                                                                                                                            "desperate,"                 "novel,"
                           Second,               plaintiff           asserts       that      the     President's               argument               is                                                     and
           "extreme."
                                     (PL          at 1, 2.)           Even        allowing            for       rhetorical          flourish,              that    characterization                    is

           completely               off         base:         the     President's              argument              was       raised         in    1997          by     the     Supreme       Court             itself        in
                                                  -- where                                                                                                                          "desperate,"                "novel"
           Clinton      v. Jones                                         the    Supreme             Court         characterized              that          supposedly
                  "extreme"                                                                                                              issue[],"
           and                                  argument              as an "important       constitutional                                                   which      it recognized                       could
                                                                                     immunity"                                                                    claim"
           "present            a more             compelling             case  for                     than                        a "comparable                              in federal                    court.       520
           U.S.      681,        690-91,               691      n.13       (1997).           And        not      only        did   nothing            in the           Supreme            Court's            decision          in

           Trump          v.     Vance,            No.        19-635,           2020      WL         3848062              (U.S.        July        9, 2020),             address         that       issue,      but     the



           1                                                  "logic,"
                           Under          plaintiff's                the U.S. Supreme Court's holding    in Trump v. Mazars    USA, LLP, No. 19-715,
           2020 WL 3848061                        (U.S.    July 9, 2020), which vacated orders upholding    Congressional   subpoenas, must have been
           based on the Supreme                         Court's view that Congress is inferior to or less capable than the state prosecutor in its Vance
           decision,   which affirmed    an order upholding     the prosecutor's   criminal   subpoena to the President.    Such a conclusion
           would,   of  course, be as baseless   as plaintiff's  assertion concerning    the President's  argument  here.   See also Reply
           Brief for Defendant-Appellant       in Zervos v. Trump, APL-2020-00009,           attached hereto as Exhibit   1, at 1 ("No one
           questions the capability    of state courts.").
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Hon.        Verna           L.    Saunders

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Supreme               Court         the        same         day,        in Mazars,              made         sure          not     to include            the     issue        of     state            court             civil
cases       in its         description                of     its    Presidential                                       jurisprudence                    -- it                      did          so because                       the
                                                                                                immunity                                                      plainly
important              constitutional                      issue        has      not     yet     been        decided.                (See      Defendant's                  July         14,     2020              Letter              to
the     Court         ("DL")              at 1-2        (quoting               Mazars,           2020         WL           3848061,             at *4).)



                 Third,          plaintiff            grossly             mischaracterizes                     the        Supreme              Court       Presidential                   immunity                       cases
she     cites.          (PL       at 1.)         Rather             than       dismiss           or downplay,                     as plaintiff           does,         the    unique                  status            of the
President             under          the       Constitution,                   every       case        cited         by     plaintiff          reaffirms          that        status.                 In     United
States    v. Nixon,   while    the Supreme      Court rejected    an "absolute        privilege                                                                        of     confidentiality                             for         all
                  communications,"
Presidential                              it adopted  a "presumptive        privilege        for                                                                 Presidential
communications."
                            418 U.S.   683, 703, 708 (1974).        In Clinton       v. Jones,                                                                      while           the         Supreme                    Court
allowed            civil         damages              suits        against           a President             in      federal          courts,          it specifically                   left     unresolved
not                 the      issue        at stake                         but      also       whether                       court      -- state         or federal            --                          compel                the
        only                                                  here,                                              any                                                                 "may
                                                                                                               place,"
attendance                 of the        President                 at a specific               time     or                        520           at 690-91,
                                                                                                                                             U.S.                and                      reaffirmed                       that
                                                                                                                                                     individual."
courts          may not "proceed                            against           the      President            as against               an ordinary                                                Id.        at 704               n.39
                  omitted).2
(citation


                              in Mazars,                the        Supreme              Court         in fact         granted            the    President's                 appeal              and         -- after
                 And,

having           earlier          stayed         the        proceedings,                 see Mazars,                  2020           WL        3848061,           at *6        -- vacated                        the
decisions             below          upholding                 the        Congressional                     subpoenas,                id.     at *12.     The           Court             agreed                 with           the
                                                                                                                                                  position,"
President             that,       because              of     the "President's       unique     constitutional                                                               Congressional
                                                                                          concerns"                                                                                                               --
subpoenas                  to the     President                 "implicate     special                     not                               applicable           to other               citizens
                                                                                                                                              official."
regardless              of whether                the        information                 sought          is "personal                   or                       Id.        at *11-12.                      Thus,

contrary            to plaintiff's                assertion,               Mazars              did    not      reject       the President's    "argument                                   that            his     private
                                                                                                                          papers."
papers           should           . . . be treated                  the     same         as his       official                        (PL at 2.)    In fact,                               the         Supreme
Court           specifically               pointed    out               that      "a    subpoena              for      personal              papers        may      pose           a heightened                           risk         of
                                           purposes,"
. . . impermissible                                                     such        as harassment.                   Mazars,                 2020      WL      3848061,                   at *11.


                 Although                the     Supreme                  Court        in Mazars               did        find,      with      respect         to the         Congressional
                                                                                         approach"
subpoenas                  at issue,           that     "a     categorical                                        to assessing                 the     "distinctions                 between                      [among
                                                                                  information,"
other       things]           official           and        personal                                             was        inappropriate,                 it did       so because                         such          an
approach             "would      represent      a significant      departure   from    the longstanding                                                                way          of      doing                business
                        branches.'"
between            the                       Mazars,       2020   WL 3848061,       at *9.   However,                                                             there            is no         "longstanding
                           business"
way        of    doing                     between       state  courts   and the  President.     Rather,                                                            as shown                    (DL          at 2),


2
           See also Mazars,    2020 WL 3848061,        at *11 ("The President's       unique constitutional     position    means that
                                                study'
Congress    may not look to him as a 'case              for general legislation.");      Vance, 2020 WL 3848062,           at *7 (the
                                                                     scheme'"
"President   'occupies   a unique position   in the constitutional                  and "Article   II guarantees the independence      of
                 Branch"
the Executive              (quoting Nixon v. Fitzgerald,       457 U.S. 731, 749 (1982)));       Clinton v. Jones, 520 U.S. at 697-
98 (the President "occupies      a unique office with powers and responsibilities           so vast and important      that the public
interest demands that he devote his undivided      time and attention to his public duties");   Nixon v. Fitzgerald,      457 U.S.
at 749 ("immunity    [is] a functionally  mandated   incident of the President's  unique office");   United  States    v. Nixon,
                                                                                                     responsibilities"
418 U.S. at 710, 715 ("courts have traditionally      shown the utmost deference to Presidential                           and the
President has a "singularly    unique role under Art. II").
                 Case 1:20-cv-07311-LAK Document 6-6 Filed 09/09/20 Page 13 of 24

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Hon.       Verna           L.     Saunders

July     16,     2020
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while       Congress,               like     the          federal      judici=sy,             is a coequal  branch                    of    government              and         may       therefore
                                                                                              over,"
exercise          "partial           agency               in,    or   [] controul                     the Executive                       Branch,       Clinton           v. Jones,           520
U.S.      at 702-03               (emphasis                in original)              (citation           omitted),         state     courts,        as Vance         confirmed,                   are    not
coequal          branches              and        may           not   do     so.     See      Vance,         2020          WL      3848062,         at *8.


                                                                                                   acc0üñtability"
                Finally,          no       one        is seeking            to "escape                                             here     (PL      at 2).    Plaintiff                is free     to
pursue         this     action          when           the       President           is no       longer       in office.           Plaintiff's         repetition               of the      assertion
                                                                                                                                                           law"
that     a postponement                      of proceedings                        would         place      the      President        "above         the                 (id.     at 1) does             not
                                                                                                                                                         4).3
make       it so,       and       has      been           squarely           rejected         by     the     Supreme             Court      (DL      at




                The     bottom             line        is that        the    issue         of temporary               Presidêñtial             im2ms.ity           has    not       yet    been
decided                 the       Court          of    Appeals              in Zervos          -- which           itself      is stayed                       that        decision           -- or
                 by                                                                                                                              pending                                           by
the     U.S.      Supreme               Court.             Under           these      circumstances,                  there      is every         reason      to    stay         this     case,
which          raises       the     identical              issue,       as well.




                                                                                                                                   Respectfully            submitted,



                                                                                                                                 ht-E
                                                                                                                                   Marc      E. Kasowitz




 cc:            Counsel            of Record




3               That the Supremacy    Clause -s.ñ±‡:s    that civil cases in state court be pestponcd,   does not make the
                            law"
P-esident        "above the       any  more  than, say, the  ::±:-d::    stay granted  bankruptcy  debtors  places them "above                                                                            the
law."
                  Case 1:20-cv-07311-LAK Document 6-6 Filed 09/09/20 Page 14 of 24

                                                                                                                                    ""°''""                       ""°"            '    *°''''"°
KAPLAN                 HECKER                                 &           FINK               LLP
                                                                                                                                    NEW                         NEW         YORK         10118
                                                                                                                                                 YORK,

                                                                                                                                    TEL         (212)         763-0883            I FAX            (212)      564-0883

                                                                                                                                    WWW.KAPLANHECKER.COM




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                                                                                                                                                               July      17,      2020




    VIA       NYSCEF


    The      Honorable               Verna        L.      Saunders
    Supreme            Court          of the      State         of New            York,         New       York           County
    111    Centre         Street,            Room         934
    New       York,      New            York       10013


                 Re:                 Carroll        v. Trump,                Index        No.      160694/2019                        (Sup.            Ct.,     N.Y.        Cty.)


    Dear      Justice         Saunders:


                 We          write       on      behalf          of       Plaintiff        E.      Jean        Carroll              to        provide           the      Court           with           notice     of    the
    submission               that      Summer             Zervos             made         yesterday             to      the     New              York          Court        of        Appeals            in Zervos           v.
    Trump.        A      copy           is     attached              as    Exhibit         A.      In     her        submissics,                        Zervos           makes             clear          why      Vance
    forecloses          Trump's                claim      to absolute                 irr©                in her         case,           just         as Vance           forecloses                Trump's         claim
    to absolute          immunity                 here.


                 We      will         refrain          from      responding                to the         letter        that         Defendant                  Donald            J. Trump                 filed   in this
    case      yesterday.              Although                there        is much           in    that        letter         for        us      to     take      issue          with,            our    prior     letters
    explain       the    ways           in which              Vance          rejected        the     core        premises                  of Trump's                  claim           that       he is absolutely
    immune            from      civil        proceedings                  in state        court,        see     Doc.          Nos.            97,       101,     and        we don't               want       to further
    burden       the     Court          with       what         is starting             to look         like       an endless                    exchange              of    correspandance.




                                                                                                                                                               Respectfully                   submitted,




                                                                                                                                                               Roberta           A.      Kaplan




    cc:          Counsel               of Record              (via        NYSCEF)
                     Case 1:20-cv-07311-LAK Document 6-6 Filed 09/09/20 Page 15 of 24

                                                         KASOWITz                      BENSON                 TORRES                 LLP

                                                                                           1633 BROADWAY                                                           ATl.ANTA
                                                                                                                                                                   HOUSTON
                                                                                    NEW YORK,NEWYORK10019
      MarcE.Kasowitz                                                                                                                                             I.OSANGEl.ES
Direct Dial: (212) 506-1710                                                                  (212) 506-1700
                                                                                          FAX: (212) 506-1800                                                     NEWARK
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                                                                                                                                                                    VAllEY
                                                                                                                                                               WASHINGTON
                                                                                                                                                                        DC




                                                                                                                      July    28,     2020




       VIA      NYSCEF


       The      Honorable          Verna           L.    Saunders
       Supreme           Court        of    the    State       of     New    York
       New       York        County
        111     Centre       Street,        Room             934
       New       York,       New        York        10013


                     Re:           Carroll          v. Trump,            Index      No.      160694/2019           (Sup.     Ct.,    N.Y.    Cty).


       Dear      Justice       Saunders:


                   I write       on behalf              of    de&ndant           President       Donald       J. Trump    to provide    the Court       with    the
       President's           response             to the       July    16,   2020      letter    to the    Court    of Appeals     from   the plaintiff      in
       Zervos        v. Trump.



                                                                                                                      Respectfully           submitted,



                                                                                                                    ht-E
                                                                                                                      Marc      E.    Kasowitz




        cc:          Counsel           of   Record
FILED: NEW YORK COUNTY CLERK 08/07/2020 09:41 AM                            INDEX NO. 160694/2019
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK


         E. JEAN CARROLL,

                                      Plaintiff,
                                                                  Index No. 160694/2019
            -against-                                             Hon. Verna L. Saunders

         DONALD J. TRUMP, in his personal capacity,

                                      Defendant.


                                              NOTICE OF ENTRY

                Please take notice that within is a true and correct copy of the Decision and Order on

         Motion of Justice Verna L. Saunders dated August 3, 2020, which was entered in the office of

         the Clerk of the County of New York on August 7, 2020.


         Dated: New York, New York                        Respectfully submitted,
                August 8, 2020

                                                          __________________
                                                          Roberta A. Kaplan
                                                          Joshua Matz
                                                          Matthew J. Craig
                                                          KAPLAN HECKER & FINK LLP
                                                          350 Fifth Avenue, Suite 7110
                                                          New York, New York 10118
                                                          Tel: (212) 763-0883
                                                          Fax: (212) 564-0883
                                                          rkaplan@kaplanhecker.com
                                                          jmatz@kaplanhecker.com
                                                          mcraig@kaplanhecker.com

                                                          Counsel for Plaintiff E. Jean Carroll




         To: Counsel of Record (by NYSCEF)




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                                                                                        08/06/2020




                                             SUPREME                             COURT                 OF THE                      STATE                     OF        NEW YORK
                                                                                           NEW YORK                              COUNTY

           PRESENT:                         HON.         VERNA              L.     SAUNDERS                                                                PART                                       IAS     MOTION                  36

                                                                                                                                 Justice
           ---------------------                                   --------------------------------------------X                                           INDEX       NO.                               160694/2019

              E. JEAN           CARROLL,
                                                                          Plaintiff,
                                                                                                                                                           MOTION               SEQ. NO.                           002         _
                                                                   - v -
                                                                                                                                                               DECISION                       + ORDER               ON
              DONALD               TRUMP,                                                                                                                                          MOTION
                                                                          Defendant.

           -------------------------------------                                                   -----------------------X


           The following   e-filed documents,  listed by NYSCEF     document   number (Motion    002) 43, 44, 45, 46, 47, 48, 49, 52,
           54, 55, 56, 57, 58, 59, 60, 61, 62, 63, 64, 65, 66, 67, 68, 69, 70, 71, 72, 73, 74, 75, 77, 97, 98, 101, 102, 105, 106

           were read on this motion                      to/for                                                                                                     STAY


                          Plaintiff,          E. Jean           Carroll,           commeñced                  this     defamation                     action          seeking               damages            stemming

          from       defendant               Donald           Trump's              alleged         defamatory                    statements                 made           in    connection                 with

          plaintiff's            allegations             of     sexual           assault        at the     hands            of     defendant.


                          Defendant,               who         is currently              serving         as President                    of the            United          States,            moves         the     court

          pursuant              to CPLR            § 2201          seeking             a stay     of the        proceedings                     pending               the       decision             of the        Court       of

                                                                                                                                                                             1st
          Appeals           on      defendant's                 appeal        from         Zervos        v Trump,                 171         AD3d            110      (           Dept         2019)         wherein             the

          Appellate              Division,          First         Department                  affirmed          an order                of    the      Supreme                  Court,         New       York         County

          denying           defendant's                 motion           seeking           a dismissal               of the         defamation                     action.             In     the    alternative,

          defendant              seeks       a stay        of     the     action         on     the    ground          that        he is currently                      sitting             as President             of the

          United          States.


                          Defendant,               in    sum        and      substance,               argues         that        this        action         will      not        lie    if it is barred              by     the


          Supremacy                 Clause         of    the      United           States       Constitution                 prohibiting                     state     court            subject         matter

          jurisdiction              over      a sitting           United           States       President.              Defendant                     asserts          that        this       very     issue        is pending

          before         the       Court      of Appeals                 in the        Zervos         action         and         that        when          granting              leave         to appeal,           the     First

                                                                                                 proceedings.1
          Department                 also     granted             a stay         of those                                           Defendant                  thus         claims            a stay        of the        instant


          proceeding                is warranted                as the        outcome            of the        Zervos             action            will      determine                   whether           this    court         has

          jurisdiction              over      defendant               while         he is in office.                 Defendant                   further             argues            that     New         York         courts

          often         grant       stays     pending             appeals           in other          actions         where              the     decision              on        those         appeals         resolve            a



          I
              Zervos      v Trump,          2020    WL 63397,              2020        NY Slip Op 60193(U).

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          dispositive                  issue,        as is the              case         here.        Defendant                     contends              that      due       to the          unique             role        of the

          President               under          Article              II of        the     Constitution,                     deference                  is required,                 and     a stay            mandated.

                            In    opposition,                    plaintiff            argues          that         defendant's                    motion            serves            as a further                  delaying              tactic

          and     that        stays         are       reserved               for     extraordinary                       circumstances.                          Plaintiff            asserts            that       no      such

          circumstances                       exist        here        where              there       is binding                appellate                 precedent                and      the         determination                     of the


          pending             appeal             is not          imminent.                    Furthermore,                    plaintiff                 contends           that        defendant's                    reliance             upon

          case        law        where           a stay          was         granted             pending              an appeal                  in the       same           action          is misplaced.                         Moreover,

          plaintiff           argues             that      the        constitutional                     immunity                   afforded              to the         President                applies            to official


          conduct,               not     personal                or unofficial                    conduct             as is alleged                     in this        case.          Plaintiff               avers         that

          defendant's                   engagement                     in other               personal             litigation               during          his     presidency                    undermines                   the

          argument                that      a stay            in this         action             is necessary.

                            In    support               of plaintiff's                   primary            contention                    that      a stay         is inappropriate                          where           binding

          appellate               authority               exists,           plaintiff            cites      to Miller                v Miller,              109        Misc          2d     982         [Sup          Ct,     Suffolk


          County             1981],            wherein                the     court           declined             to issue            a stay            pending             the      Court            of    Appeals               decision           as

          it was        bound             by       the        Appellate              Court           decision               and       the        Court        of     Appeals                decision             was         not

          imminent.                    Plaintiff              contends              that       the    cases           cited          by      defendant               in      support           of       a stay         are     easily

          distinguishable                        from          this     action             as those             matters             either         involved               identical               issues         and        parties;          were


          fully       briefed             and        awaiting                oral        argument               at the         time          a stay        was         requested;                 or,       there        was        no     binding

          appellate               authority               on     point.

                            In    reply,           defendant                 reiterates              the        arguments                   advanced               in the          moving               papers           and        adds      that

          as the       Zervos              appeal              will     be fully              briefed            by      May          11,        2020       a stay           of this         action             pending             the      appeal

          of the       Zervos              case          is warranted                    as its       decision               will         inform          jurisdiction                   of this            action.

                            In the         Zervos              case,         this        court       held        that:


                            "[n]othing                   in the        Supremacy                     Clause            of the          United             States          Constitution                      even         suggests            that
                            the        President               cannot           be called             to account                    before              a state      court           for    wrongful                  conduct              that
                            bears         no       relationship                    to any          federal            executive               responsibility.                         Significantly,                     when            unofficial
                            conduct              is at issue,                there         is no         risk      that       a state            will      improperly                  encroach                 on      powers             given       to
                            the        federal           government                      by      interfering                with       the        manner            in which                the        President             performs
                            federal            functions.                   There          is no possibility                         that      a state           court        will         compel             the      President              to
                            take        any        official           action             or that         it will         compel              the        President             to refrain                from          taking         any
                            official            action...               [T]here               is absolutely                  no      authority              for      dismissing                   or        staying          a civil        action
                            related           purely            to unofficial                    conduct              because               defendant               is the           President                of the        United            States.
                            Resolution                   of     an action                unrelated              to the         President's                  official          conduct            is the                                               of
                                                                                                                                                                                                                    responsibility
                                                                                                                                                                                            President."
                            a state         court             and      is not        impermissible                          direct          control          . . . over            the                                      (Zervos           v

                            Trump,              59       Misc         3d      790         [Sup       Ct,        NY        County             2018],          internal              citations                omitted).


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                           On appeal,                 the     Appellate              Division,                  First     Department                           noted          that      the        Zervos           action            presented

          a constitutional                    issue         of    first      impression:                   "whether                  the        Supremacy                     Clause           of      the      United               States

          Constitution                   requires           a state         court      to defer                litigation              of        a defamation                      action           against             a sitting

                                                                    end."
          President              until       his     terms                         (Zervos,            supra).               Ultimately,                    the        Appellate                   Division's                decision                to

          affirm         the      Supreme                 Court's          ruling          unequivocally                      resolved                   this         issue        holding             that       pursuant               to the

          United           States           Supreme              Court's           decision               in    Clinton              v Jones,              520          US 681                [1997]          "the        presidency
                                                                             separable"
          and      the     President                are     indeed                                    and         thus,       "the              President              is presumptively                            subject              to civil

                                                                                                                                                capacity."
          liability         for       conduct             that      has     taken          place          in his        private                                              (Zervos,              supra          at 124).

                           At     issue       here          is whether              this      action            should           be stayed                  pending                  a decision               from           the        Court             of

          Appeals            regarding                the     First        Department's                        decision              to affirm                 this      court's             ruling          on     Zervos.

                           Pursuant            to CPLR                   § 2201,           which          authorizes                  the         granting               of     a stay         "in      a proper               case,            upon

                                                            just,"
          such        terms           as may          be                   stays      are      in the            sound          discretion                     of the          trial     court.              However,                   the      First

          Department                   has    ruled          that        stays      should           be exercised                      "sparingly                     and       only          when           other        remedies                   are

                                                                                                                               strong."
          inadequate                  and    the      equities             invoked            apparent                 and                                (See         generally,                  Croker            v NY            Trust           Co.,

          206      AD          11 [1st        Dept           1923]).             Nevertheless,                    it is axiomatic                         that        this      court          is bound              by        the      decisions

          of the         Appellate             Division,                 First      Department                    unless             same          has         been           overturned                by        the     Court           of

          Appeals.

                           In this          instance,            defendant                 implores              the      court            to     stay      this         action          until         the     Court            of Appeals

          has      ruled         on      a separate              action,          arguing           that        the     appeal              is fully             briefed               and     thus,          imminent.


          Conversely,                  plaintiff            objects          avowing               that        there         is no          immediate                    date          set for        arguments                    or

          likelihood              that       a decision               is imminent                  and         thus,      the        court          is bound                  by       the    binding              appellate

          precedent               which            specifically              addresses              the         issue        in contention.                            While            the      arguments                   advanced                     by

          both        parties          are    compelling,                   they      have         been           rendered                 moot           in     light         of the          recent          United              States

          Supreme                Court        decision              in    Trump            v Vance,              591         U.S.          __,      __,         140         S Ct       2412           [2020].             In     Trump               v


          Vance,           the     U.S.       Supreme                 Court         held      that         "Article             II    and          the     Supremacy                         Clause           do not


          categorically                  preclude,               or require           a heightened                      standard                  for,     the         issuance               of     a state            criminal

                                                            President."
          subpoena               to a sitting                                         (Slip         Op at 1.)                 The           Vance              Court          reasoned                that        as the        Supremacy

          Clause           prohibits           state         judges          and      prosecutors                     from           interfering                  with         a President's                      official            duties,

          absolute              immunity              is not         necessary              or appropriate                      under              Article             II     or the                                       Clause               as
                                                                                                                                                                                              Supremacy

          state       courts          and     prosecutors                   are     expected               to observe                  constitutional                         limitations                and,           if they          fail        to




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          do     so, federal             law     allows            a President            to challenge                      any     constitutional                   influence.                  (Slip      Op at 17.)

          While         the     Vance          Court's          decision             permits            the      issuance              of       a criminal           subpoena                   to a sitting


          President,            it's     analysis            and      conclusions              address                the      same         issues          and     questions                  raised      by      defendant

          in this       action,          as well         as, the        Zervos           action:         whether                 the     Supremacy                  Clause            of      the    Constitution                 bars

          a state       court          from      exercising             jurisdiction                over         a sitting             President                of the      United              States      during          his

          term.         No,     it does        not.          Further,          the     holding           in      Vance            is not          limited         solely          to criminal               proceedings.

          In    fact,    the      Vance          Court         concluded,

                         Two           hundred         years          ago,      a great        jurist           of our           Court          established                that     no        citizen,       not     even         the

                         President,              is categorically                    above       the       common                  duty         to produce                evidence               when       called          upon
                         in a criminal                proceeding.                    We reaffirm                 that        principle              today         and       hold         that       the    President          is
                         neither          absolutely                immune             from      state          criminal               subpoenas                seeking            his     private          papers     nor
                                                                                                                                                                                                              officer"
                         entitled          to a heightened                     standard            of    need.           The "guard[     ] furnished      to this high                                                            lies
                                                                                                                         court"
                         where           it always            has-in            "the      conduct               of     a        applying      established      legal  and
                         constitutional                principles               to     individual               subpoenas                   in a manner               that        preserves               both      the
                         independence                    of    the      Executive             and       the          integrity           of the        criminal             justice             system.          (Slip      Op at
                         21,      internal         citations            omitted.)


                         This          court     construes              the    holding           in      Vance            applicable                to all        state      court            proceedings                in which

          a sitting        President             is involved,                 including            those             involving              his     or her         unofficial/personal                           conduct.


          Accordingly,                  the    application               for    a stay         is denied                and       it is hereby


                         ORDERED,                     defendant's                motion            is denied                in accordance                   with          the     foregoing;               and      it is

          further


                         ORDERED,                     that      the     parties         are    to appear                 for      a telephonic                   compliance                   conference             on

          September               30,     2020        at      11:00      AM;           and     it is further


                         ORDERED,                     that      any      requested             relief         not        expressly                addressed               herein         has        been     considered

          and     is hereby              denied.

                         This          constitutes            the     decision           and       order         of the           court.




          _         August             3, 2020                                                                                                                        //
                                                                                                                                                       ON.                 RNA           L.     SAUNDERS,                   JSC



               CHECK ONE:                                               CASE DISPOSED                                                       X      NON-FINAL               SPOSITION

                                                                        GRANTED                                        DENIED                               N       IN PART                                        OTHER

              APPLICATION:                                              SETTLE ORDER                                                               SUBMIT ORDER

               CHECK IF APPROPRIATE:                                    INCLUDES TRANSFER/REASSIGN                                                 FIDUCIARY APPOINTMENT                                           REFERENCE




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